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 6                                  IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 8    UNITED STATES OF AMERICA,                   )       Case №: 2:12-CR-0410- MCE
                                                  )
 9                         Plaintiff,             )                   ORDER
                                                  )              APPOINTING COUNSEL
10               vs.                              )
                                                  )
11    STELLA AVETISYAN,                           )
                                                  )
12                         Defendant.             )
                                                  )
13
            The defendant has, under oath, sworn or affirmed as to his financial inability to employ
14
     counsel.
15
               OFFENSE: 18 U.S.C. § 1344 – Bank Fraud
16
               DOUGLAS BEEVERS. is hereby appointed effective January 7, 2014.
17
               APPOINTED COUNSEL IS ORDERED TO RETAIN THE SIGNED FINANCIAL AFFIDAVIT
18
     SUPPORTING APPOINTMENT.
19
     Dated: January 9, 2014
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22   Dad1.crim
     Avetisyan0410.atty.appt.ord
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     ORDER APPOINTING COUNSEL                         1
